                          EXHIBIT H




Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 1 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 2 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 3 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 4 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 5 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 6 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 7 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 8 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 9 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 10 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 11 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 12 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 13 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 14 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 15 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 16 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 17 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 18 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 19 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 20 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 21 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 22 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 23 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 24 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 25 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 26 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 27 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 28 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 29 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 30 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 31 of 32
Case 19-42890-MJH   Doc 25-8   Filed 01/27/20   Ent. 01/27/20 22:52:01   Pg. 32 of 32
